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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


                                                    03 MDL 1570 (GBD) (SN)
In re Terrorist Attacks on September 11,2001
                                                    ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN) (and member case
    Burlingame v. Bin Laden, et al., 02-cv-7230 (GBD)(SN))
Ashton et al. v. Kingdom of Saudi Arabia, 17-cv-02003 (GBD)(SN)

           [PROPOSED] ORDER AWARDING PUNITIVE DAMAGES &
       PREJUDGMENT INTEREST AND FINAL JUDGMENTS AGAINST THE
       ISLAMIC REPUBLIC OF IRAN TO THE ASHTON-DICKEY PLAINTIFFS

       Upon consideration of the evidence and arguments submitted by the Personal Representatives

of the Estates of Joseph D. Dickey, Robert D. Eaton, James J. Kelly, Timothy M. O'Brien, Michael

H. Seaman, Robert F. Sliwak, John Wallice, Jr., Farrell Lynch, Ronald Breitweiser, and John Ryan

regarding their wrongful death claims (the Plaintiffs named herein are “Ashton-Dickey Plaintiffs”

in the above-captioned litigation1) against the Islamic Republic of Iran (“Iran”), together with the

entire record in this case, and in addition to the prior partial default judgment awards for




1
    The “Ashton-Dickey Plaintiffs” are the Personal Representatives, widows and children within
the following Estates: The Estate of Joseph D. Dickey Jr. (Irene Dickey, spouse, and children:
Joseph Dickey III and Elizabeth Dickey); The Estate of Robert D. Eaton (Jacqueline Eaton,
spouse); The Estate of James J. Kelly (Joanne Kelly, spouse, and children: Brianne Kelly, Kaitlyn
Kelly, Colleen Kelly, and Erin Kelly); The Estate of Timothy M. O'Brien (Lisa O'Brien, spouse,
and children: John O'Brien, Madeline O'Brien, and Jacqueline O'Brien); The Estate of Michael H.
Seaman (Dara Seaman, spouse, and children: Michaella Seaman, Mary Seaman and Edward
Seaman); The Estate of Robert F. Sliwak (Susan Sliwak, spouse, and children: Ryan Sliwak, Kyle
Sliwak, and Nicole Sliwak); The Estate of John Wallice Jr. (Allison Wallice, spouse, and children:
John Wallice III, Christian Wallice and Patrick Wallice); The Estate of Farrell Lynch (Eileen
Lynch, spouse, and children: Anne Lynch, Kathleen Lynch, and Meaghan Lynch); The Estate of
Ronald M. Breitweiser (Kristen Breitweiser, spouse, and Caroline Breitweiser, child); The Estate
of John J. Ryan (Patricia Ryan, spouse, and children: Colin Ryan, Kristen Ryan, and Laura Ryan).
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compensatory damages for the deaths of the decedents Joseph D. Dickey, Robert D. Eaton, James

J. Kelly, Timothy M. O'Brien, Michael H. Seaman, Robert F. Sliwak, John Wallice, Jr., Farrell

Lynch, Ronald Breitweiser, and John Ryan, issued by this Court, it is hereby;

        ORDERED that the prior, partial default judgments entered on behalf of the Ashton-

Dickey Plaintiffs: widows and children within the following Estates, and the Estates themselves:

Estates of Dickey, Eaton, Kelly, O'Brien, Seaman, Silwak and Wallice (see ECF#5376); Estate of

Lynch (see ECF#5449); Estate of Breitweiser (see ECF#4011); and Estate of Ryan (see

ECF#5999), are hereby supplemented; and it is further

        ORDERED that punitive damages are hereby awarded to the Ashton-Dickey Plaintiffs, as

identified in the attached Exhibit A, against Iran, in the amounts described therein, since this Court

has previously ruled that Defendant Iran is subject to punitive damage awards on the compensatory

awards issued by the Court to wrongful death plaintiffs; and it is further

        ORDERED that pre-judgment interest on those awards is to be calculated at the rate of

4.96 percent per annum, compounded annually for the period from September 11, 2001, until the

date of the final Judgment; and it is further

        ORDERED that the Ashton Plaintiffs not appearing in the attached Exhibit A, who were

not previously awarded compensatory damages or punitive damages, may submit applications in

later stages, and they will be approved on the same basis as currently approved for those plaintiffs;

and it is further

        ORDERED that the Clerk of this Court to enter a final judgment against the Defendant,

Islamic Republic of Iran, certified as final Judgment pursuant to Fed. R. Civ. P. 54(b).

Furthermore, the Court respectfully directs the Clerk of the Court to terminate the Motion at ECF

No. 9949.


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Dated: New York, New York
       June __, 2024
                                 SO ORDERED:



                                 GEORGE B. DANIELS
                                 UNITED STATES DISTRICT COURT JUDGE




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